Case 2:08-cr-00327-SRC                  Document 329        Filed 12/03/09    Page 1 of 1 PageID: 1484


                                    UNITED        STATES    DISTRICT   COURT
                                          DISTRICT     OF    NEW   JERSEY


                                                                               Crim    No.    08-327

 UNITED       STATES         OF   AMERICA    v.    Martin    Taccetta
                                                                        Defendant
 PETITION          FOR   WRIT      OF   HABEAS     CORPUS:      Your   petitioner       shows    that

1.     inTace. (BI                                                                O/O2j51J,       is     now
confined in New Jersey State                        Prison.

2.   Said individual will be required at United States Distric
                                                               t Court,
before   the Honorable Stanley R.   Chesler on Tuesday,  December 16,
2009, at 12:00 p.m. for a Plea in the captioned case, in which
                                                                                                          is
a defendant and a Writ of Habeas Corpus should be issued for
                                                                                                        that
purpose.

DATED:        December 2,            2009                                    /.


                                                       Assistant United States Attorney
                                                       Petitioner RONALD D. WIGLER

ORDER FOR WRIT:                   Let the Writ Issue.
                         I

DATED     /              /;
               Jf’/                                   ôN. STANLEY R. CHESLER
               /                                      UNITED STATES DISTRICT JUDGE

WRIT OF HABEAS CORPUS:                      The United States of America to

WARDEN, New Jersey State Prison
WE COMMAND YOU that you have the body of Martin Taccet
                                                             ta, now
confined in New Jersey State Prison brought to the United
                                                               States
District Court before the Honorable Stanley R. Chesler in Newark,
                                                                  New
Jersey on Tuesday, December 15, 2009 at 12:00 pm, for a Plea
                                                               in the
above-captioned   matter.     Immediately   on  completion   of   the
proceedings, defendant will be returned to said place of confin
                                                                ement
in a safe and secure manner.

                         WITNESS the Honorable Stanley R.                     Chesler
                         United         States    District     Judge   at    Newark,    NJ.


DATED:                                              WILLIAM T. WALSH
                                                    Clerk of the U.S. District Court
                                                    for the District of New Jersey


                                            Per                     }LA       ‘   &V?t
                                                    Deputy Clerk
